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18 Attorneys for Defendants
19                                   UNITED STATES DISTRICT COURT

20                 NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION

21 BILLFLOAT INC. dba SMARTBIZ                      Case No. 3:20-cv-09325-EMC
     LOANS, a Delaware corporation,
22
                       Plaintiff,                   AMENDED JOINT TRIAL EXHIBIT LIST
23            v.

24 COLLINS CASH INC. dba SMART
   BUSINESS FUNDING, a New York
25 Corporation; and ABRAHAM COHEN,
   an individual,
26
                       Defendants.
27
28

                                                                     Case No. 3:20-cv-09325-EMC
     SMRH:4864-0900-6901                                    AMENDED JOINT TRIAL EXHIBIT LIST
    Exhibit       Pty   Document Description                  Bates       Witness(es) /     Objection(s)   Response                     Court Use
                                                              Range(s)    Purpose           & Party1       to Objections
    Trial Ex. 1   P     03/27/2014 Trademark Registration                 Evan Singer:
                        Certificate for SmartBiz Reg. No.                 likelihood of
                        4475356 (ECF No. 50-1 Ex. G)                      confusion
    Trial Ex. 2   P     01/02/2018 Trademark Registration                 Evan Singer:
                        Certificate for SmartBiz Loans Reg.               likelihood of
                        No. 5368330                                       confusion
    Trial Ex. 3   P     12/11/2018 Trademark Registration                 Evan Singer:
                        Certificate for SmartBiz Reg. No.                 likelihood of
                        5685165                                           confusion
    Trial Ex. 4   P     03/12/2019 Trademark Registration                 Evan Singer:
                        Certificate for SmartBiz Advisor                  likelihood of
                        Reg. No. 5695705                                  confusion
    Trial Ex. 5   P     03/12/2019 Trademark Registration                 Evan Singer:
                        Certificate for SmartBiz Advisor                  likelihood of
                        Reg. No. 5695704                                  confusion
    Trial Ex. 6   P     03/20/2020 Notice Of                              Evan Singer:
                        Acknowledgement Under Section 15                  likelihood of
                        for SmartBiz Reg. No. 4475356                     confusion
    Trial Ex. 7   P     SmartBiz Logo (Singer Depo Ex.        BF0000177   Evan Singer:
                        11)                                               likelihood of
                                                                          confusion
    Trial Ex. 8   J     07/30/2013 Trademark specimen                     P: Evan Singer:
                        submitted in connection with                      likelihood of
                        Trademark Application U.S. Serial                 confusion
                        No. 86023486 for SmartBiz (Singer
                        Depo Ex. 19)                                      D: Evan Singer:
                                                                          demonstrative
                                                                          evidence and
                                                                          impeachment
                                                                          evidence.


1
    The parties objections are referred to as follows: A = Not authenticated pursuant to Fed. R. Evid. 901; C = Cumulative; F = Lack of
         Foundation; H = Hearsay; IC = Incomplete Document; S = Improper Compilation or Summary; O = Improper Opinion; R
         =Not Relevant; P = Unduly prejudicial or waste of time pursuant to Fed. R. Evid. 403; ND = Not timely disclosed


                                                                          -1-                                          Case No. 3:20-cv-09325-EMC
SMRH:4864-0900-6901                                             AMENDED JOINT EXHIBIT LIST
 Trial Ex. 9      J   SmartBiz Logo (Singer Depo Ex.      BF0000178    P: Evan Singer:
                      12)                                              likelihood of
                                                                       confusion

                                                                       D: Evan Singer:
                                                                       demonstrative
                                                                       evidence and
                                                                       impeachment
                                                                       evidence.
 Trial Ex. 10     J   07/30/2013 Trademark Application                 P: Evan Singer:
                      U.S. Serial No. 86023486 (Singer                 likelihood of
                      Depo Ex. 20)                                     confusion

                                                                       D: Evan Singer:
                                                                       demonstrative
                                                                       evidence and
                                                                       impeachment
                                                                       evidence.
 Trial Ex. 11     P   05/13/2013 SmartBiz First Logos     BF0092796-   Evan
                                                          BF0092798    Singer/likelihood of
                                                                       confusion
 Trial Ex. 12     J   Timeline of logo development        BF0092799    P: Evan Singer:
                      (Singer Depo Ex. 15)                             likelihood of
                                                                       confusion

                                                                       D: Evan Singer:
                                                                       demonstrative
                                                                       evidence and
                                                                       impeachment
                                                                       evidence.
 Trial Ex. 13     J   [AEO] BillFloat SmartBiz Launch     BF0000133-   P: Evan Singer:
                      Proposed PR Plan (Singer Depo Ex.   BF0000135    likelihood of
                      16)                                              confusion

                                                                       D: Evan Singer:
                                                                       demonstrative
                                                                       evidence and
                                                                       impeachment
                                                                       evidence.




                                                                       -2-                    Case No. 3:20-cv-09325-EMC
SMRH:4864-0900-6901                                         AMENDED JOINT EXHIBIT LIST
 Trial Ex. 14     P   SmartBiz site (ECF No. 50-1 Ex. L)                 Evan Singer:
                                                                         likelihood
                                                                         of confusion
 Trial Ex. 15     J   SBA Perceptions Logo Survey           BF0092852-   P: Evan Singer:
                      (Singer Depo Ex. 18)                  BF0092854    likelihood of
                                                                         confusion

                                                                         D: Evan Singer:
                                                                         demonstrative
                                                                         evidence and
                                                                         impeachment
                                                                         evidence.
 Trial Ex. 16     J   2013 SmartBiz “SBA loans made         BF0000127-   P: Evan Singer:
                      easy” ad (Singer Depo Ex. 9)          BF0000128    likelihood of
                                                                         confusion

                                                                         D: Evan Singer:
                                                                         demonstrative
                                                                         evidence and
                                                                         impeachment
                                                                         evidence.
 Trial Ex. 17     J   05/22/2013 [AEO] BillFloat                         P: Evan Singer:
                      Marketing Update (Singer Depo Ex.                  likelihood of
                      7)                                                 confusion

                                                                         D: Evan Singer:
                                                                         demonstrative
                                                                         evidence and
                                                                         impeachment
                                                                         evidence.
 Trial Ex. 18     J   05/24/2013 BillFloat SmartBiz Loan                 P: Evan Singer:
                      Website, Design Proof Final (Singer                likelihood of
                      Depo Ex. 8)                                        confusion

                                                                         D: Evan Singer:
                                                                         demonstrative
                                                                         evidence and
                                                                         impeachment
                                                                         evidence.




                                                                         -3-               Case No. 3:20-cv-09325-EMC
SMRH:4864-0900-6901                                           AMENDED JOINT EXHIBIT LIST
 Trial Ex. 19     P   06/01/2013 Beth Moore’ SmartBiz       BF0000113    Evan Singer:
                      Website Copy Invoice                               likelihood of
                                                                         confusion
 Trial Ex. 20     P   09/17/2013 BillFloat SmartBiz PR      BF0000143-   Evan Singer:
                      Plan_                                 BF0000147    likelihood of
                                                                         confusion
 Trial Ex. 21     P   09/19/2013 SmartBiz Golden Pacific    BF0000125-   Evan Singer:
                      Bank “Grow Your Business”             BF0000126    likelihood of
                      Postcard                                           confusion
 Trial Ex. 22     P   12/20/2013 SmartBiz Marketing Kit     BF0000138    Evan Singer:
                      “Need Money to Grow Your                           likelihood of
                      Business?”                                         confusion
 Trial Ex. 23     P   12/20/2013 SmartBiz Marketing Kit     BF0000139-   Evan Singer:
                      “Affordable Business Lending”         BF0000140    likelihood of
                      Flyer                                              confusion
 Trial Ex. 24     P   Infogroup -SmartBiz Female            BF0071786-   Evan Singer:
                      Owners Spreadsheet                    BF0073986    likelihood of
                                                                         confusion
 Trial Ex. 25     P   01/30/2014 BillFloat Better Finance   BF0000148-   Evan Singer:
                      Identity, Design Proof Round 2        BF0000155    likelihood of
                                                                         confusion
 Trial Ex. 26     P   Tradeshow and Conference              BF0092950    Evan Singer:
                      Sponsorships List for 2014-2017                    likelihood of
                                                                         confusion
 Trial Ex. 27     P   02/03/2014 [Confidential] 2014        BF0000156-   Evan Singer:
                      SmartBiz Marketing Plan & Budget      BF0000161    likelihood of
                      Q1&Q2                                              confusion
 Trial Ex. 28     P   02/04/2013 Estimate for Testimonial   BF0000162-   Evan Singer:
                      Video Production                      BF0000163    likelihood of
                                                                         confusion
 Trial Ex. 29     P   02/07/2014 BillFloat Better Finance   BF0000164-   Evan Singer:
                      Identity, Design Proof Round 4        BF0000165    likelihood of
                                                                         confusion
 Trial Ex. 30     P   04/02/2013 Better Finance             BF0000275-   Evan Singer:
                      Tradeshow Banner Design, Design       BF0000276    likelihood of
                      Proof Round 3.2                                    confusion
 Trial Ex. 31     P   03/21/2014 Better Finance –           BF0000189-   Evan Singer:
                      SmartBiz Business System:             BF0000192    likelihood of
                      Business Card, Envelope, Letterhead                confusion




                                                                         -4-               Case No. 3:20-cv-09325-EMC
SMRH:4864-0900-6901                                           AMENDED JOINT EXHIBIT LIST
 Trial Ex. 32     P   04/05/2013 Beth Moore’ Creative                    P: Evan Singer:
                      Brief to BillFloat SmartBiz (Singer                likelihood of
                      Depo Ex. 3)                                        confusion
 Trial Ex. 33     P   03/17/2014 SmartBiz Commercial        BF0000188    P: Evan Singer:
                                                                         likelihood of
                                                                         confusion
 Trial Ex. 34     J   04/29/2014 Better Finance             BF0000207-   P: Evan
                      Tradeshow Banner Designs, Design      BF0000209    Singer/likelihood of
                      Proof Round 3 (Singer Depo Ex.                     confusion
                      10)
                                                                         D: Evan Singer:
                                                                         demonstrative
                                                                         evidence and
                                                                         impeachment
                                                                         evidence.
 Trial Ex. 35     J   04/09/2013 Estimate for SmartBiz      BF0000010    P: Evan Singer:
                      Logo and Website Design (Singer                    likelihood of
                      Depo Ex. 4)                                        confusion

                                                                         D: Evan Singer:
                                                                         demonstrative
                                                                         evidence and
                                                                         impeachment
                                                                         evidence.
 Trial Ex. 36     P   04/09/2013 [Confidential] SmartBiz    BF0000006-   Evan Singer:
                      Marketing Plan, Q2 Plan 2013          BF0000009    likelihood of
                                                                         confusion
 Trial Ex. 37     J   06/13/2014 [AEO] Q3 SmartBiz          BF0000212-   P: Evan Singer:        Plaintiff: H,    Defendants: Mr. Singer will
                      Marketing Budget Recommendation       BF0000216    likelihood of          F, R, P         provide the foundation for his
                      (Singer Depo Ex. 17)                               confusion                              document as the identified
                                                                                                                corporate witness. Relevant
                                                                         D: Evan Singer:                        to show “BIZ” use in
                                                                         demonstrative                          marketplace.
                                                                         evidence and
                                                                         impeachment
                                                                         evidence.




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 Trial Ex. 38     J   04/22/2013 Schedule for Brand         BF0000011-   P: Evan Singer:   Plaintiff: H,   Defendants: No response.
                      Identity and Website Design (Singer   BF0000012    likelihood of     F, R, P
                      Depo Ex. 5)                                        confusion

                                                                         D: Evan Singer:
                                                                         demonstrative
                                                                         evidence and
                                                                         impeachment
                                                                         evidence.
 Trial Ex. 39     P   06/19/2014 SmartBiz Golden Pacific    BF0000217-   Evan Singer:
                      Bank Marketing Kit “Affordable        BF0000218    likelihood of
                      Business Lending”                                  confusion
 Trial Ex. 40     J   04/23/2013 [AEO] BillFloat                         P: Evan Singer:
                      SmartBiz Loan Identity, Design                     likelihood of
                      Proof Round 1 (Singer Depo Ex. 6)                  confusion

                                                                         D: Evan Singer:
                                                                         demonstrative
                                                                         evidence and
                                                                         impeachment
                                                                         evidence.
 Trial Ex. 41     P   08/22/2014 BillFloat Better Finance   BF0000230-   Evan Singer:
                      SmartBiz Bank Partnership Flyer,      BF0000232    likelihood of
                      Final                                              confusion
 Trial Ex. 42     P   08/22/2014 BillFloat Better Finance   BF0000220-   Evan Singer:
                      SmartBiz Center State Bank Flyer,     BF0000222    likelihood of
                      Final                                              confusion
 Trial Ex. 43     P   08/22/2014 BillFloat Better Finance   BF0000228-   Evan Singer:
                      SmartBiz Statement Stuffer, Final     BF0000229    likelihood of
                                                                         confusion
 Trial Ex. 44     P   08/29/2014 BillFloat Better Finance   BF0000243-   Evan Singer:
                      SmartBiz Bank Partnership             BF0000245    likelihood of
                      CalAsian Chamber of Commerce                       confusion
                      Flyer, Final
 Trial Ex. 45     P   08/29/2014 BillFloat Better Finance   BF0000238-   Evan Singer:
                      SmartBiz Bank Partnership             BF0000240    likelihood of
                      International Funding Group Flyer,                 confusion
                      Final




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SMRH:4864-0900-6901                                           AMENDED JOINT EXHIBIT LIST
 Trial Ex. 46     P   09/22/2014 [Confidential] Q4         BF0000251-   Evan Singer:
                      SmartBiz Marketing Budget            BF0000257    likelihood of
                      Recommendation                                    confusion
 Trial Ex. 47     P   12/16/2014 [Confidential] Q1 2015    BF0000264-   Evan Singer:
                      SmartBiz Marketing Budget            BF0000269    likelihood of
                      Recommendation                                    confusion
 Trial Ex. 48     P   02/2015 [Confidential] Q2 2015       BF0015823-   Evan Singer:
                      SmartBiz Marketing Budget            BF0015828    likelihood of
                      Recommendation                                    confusion
 Trial Ex. 49     P   02/02/2015 SmartBiz Sam’s Club       BF0000270    Evan Singer:
                      Flyer                                             likelihood of
                                                                        confusion
 Trial Ex. 50     P   03/18/2015 Estimate for Better       BF0092672    Evan
                      Finance                                           Singer/likelihood of
                                                                        confusion
 Trial Ex. 51     P   03/18/2015 SmartBiz Approved         BF0019947-   Evan
                      Survey                               BF0019955    Singer/likelihood
                                                                        of confusion
 Trial Ex. 52     P   2013 SmartBiz First Logo Statement   BF0000141-   Evan Singer:
                      Stuffer                              BF0000142    likelihood of
                                                                        confusion
 Trial Ex. 53     P   04/30/2015 SmartBiz Loans UCCs       BF0000277-   Evan Singer:
                      33000 Spreadsheet                    BF0002914    likelihood of
                                                                        confusion
 Trial Ex. 54     P   2015 BillFloat Media Coverage,                    Evan Singer:
                      SSPR (ECF No. 50-1 Ex. J)                         likelihood of
                                                                        confusion
 Trial Ex. 55     P   05/01/2015 DM Solutions 399 List     BF0002915-   Evan Singer:
                                                           BF0005034    likelihood of
                                                                        confusion
 Trial Ex. 56     P   2015 SmartBiz Sam Club’s Digital     BF0053696-   Evan Singer:
                      budget July-December                 BF0053697    likelihood of
                                                                        confusion
 Trial Ex. 57     P   2015 [CONFIDENTIAL] SmartBiz         BF0071195-   Evan Singer:
                      Strategic Partner Guide              BF0071205    likelihood of
                                                                        confusion
 Trial Ex. 58     P   2016 Meridian Best Final Lists for   BF0084579-   Evan Singer:
                      January 2016 Spreadsheet             BF0086391    likelihood of
                                                                        confusion




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 Trial Ex. 59     P   2016 Meridian FAIR final lists for     BF0082358-   Evan Singer:
                      January 2016 Mailer Spreadsheet        BF0084578    likelihood of
                                                                          confusion
 Trial Ex. 60     P   2016 SmartBiz Conferences &            BF0092781-   Evan Singer:
                      Tradeshows 2016 Spreadsheet            BF0092782    likelihood of
                                                                          confusion
 Trial Ex. 61     P   05/01/2015 Infogroup Email             BF0015834-   Evan Singer:
                      General Biz Spreadsheet                BF0017706    likelihood of
                                                                          confusion
 Trial Ex. 62     P   05/2015 [Confidential] Q3 2015         BF0015829-   Evan Singer:
                      SmartBiz Marketing Budget              BF0015833    likelihood of
                      Recommendation                                      confusion
 Trial Ex. 63     P   05/07/2015 UCC MCA Order               BF0005035-   Evan Singer:
                      Spreadsheet                            BF0006054    likelihood of
                                                                          confusion
 Trial Ex. 64     P   05/29/2015 Info Group List             BF0017707-   Evan Singer:
                      Spreadsheet                            BF0019922    likelihood of
                                                                          confusion
 Trial Ex. 65     J   06/05/2015 BillFloat mailers (Singer                P: Evan Singer:
                      Depo Ex. 45)                                        likelihood of
                                                                          confusion

                                                                          D: Evan Singer:
                                                                          demonstrative
                                                                          evidence and
                                                                          impeachment
                                                                          evidence.
 Trial Ex. 66     P   06/22/2015 Better Finance SmartBiz     BF0019956-   Evan Singer:
                      Website Homepage, “How It              BF0019968    likelihood of
                      Works”, and “Partners” Section,                     confusion
                      Design Proof Round 7
 Trial Ex. 67     P   07/01/2015 Infogroup UCC MCA           BF0053220-   Evan Singer:
                      Order Spreadsheet                      BF0053695    likelihood of
                                                                          confusion
 Trial Ex. 68     P   07/01/2015 Meridian SmartBiz           BF0019969-   Evan Singer:
                      78006 Spreadsheet                      BF0021803    likelihood of
                                                                          confusion
 Trial Ex. 69         INTENTIONALLY LEFT BLANK




                                                                          -8-               Case No. 3:20-cv-09325-EMC
SMRH:4864-0900-6901                                            AMENDED JOINT EXHIBIT LIST
 Trial Ex. 70     P   08/11/2015 Sam's Club Grow your      BF0092673-   Evan Singer:
                      business: exclusive Sam's Club       BF0092675    likelihood of
                      business member savings email with                confusion
                      SmartBiz ad
 Trial Ex. 71     P   09/04/2015 SmartBiz Creative sets    BF0053929-   Evan Singer:
                                                           BF0053938    likelihood of
                                                                        confusion
 Trial Ex. 72     P   10/21/2015 Meridian MCA UCCs         BF0055783-   Evan Singer:
                      8093 Spreadsheet                     BF0056291    likelihood of
                                                                        confusion
 Trial Ex. 73     P   10/21/2015 Meridian MCA UCCs         BF0055775-   Evan Singer:
                      Dentists Spreadsheet                 BF0055782    likelihood of
                                                                        confusion
 Trial Ex. 74     P   10/21/2015 Meridian Equipment        BF0053939-   Evan Singer:
                      Leasing UCCs 31984 Spreadsheet       BF0055774    likelihood of
                                                                        confusion
 Trial Ex. 75     P   12/23/2015 Infogroup UCC order       BF0076114-   Evan Singer:
                      MCA Spreadsheet                      BF0076273    likelihood of
                                                                        confusion
 Trial Ex. 76     P   10/23/2015 Infogroup UCC Order       BF0065606-   Evan Singer:
                      Dentists Spreadsheet                 BF0069896    likelihood of
                                                                        confusion
 Trial Ex. 77     P   10/23/2015 Infogroup UCC Order       BF0058602-   Evan Singer:
                      Equipment Leasing Spreadsheet        BF0065605    likelihood of
                                                                        confusion
 Trial Ex. 78     P   10/28/2015 ADA Dental List Home      BF0070569-   Evan Singer:
                      Address Spreadsheet                  BF0071158    likelihood of
                                                                        confusion
 Trial Ex. 79     P   11/10/2015 Better Finance SmartBiz   BF0071164-   Evan Singer:
                      Excel Eligibility Checklist,         BF0071164    likelihood of
                      Production Round One                              confusion
 Trial Ex. 80     P   11/13/2015 SmartBiz Case Study:      BF0071168-   Evan Singer:
                      SBA Working Capital Loan with        BF0071169    likelihood of
                      Leasing                                           confusion
 Trial Ex. 81     P   11/13/2015 SmartBiz company          BF0071194    Evan Singer:
                      description                                       likelihood of
                                                                        confusion




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SMRH:4864-0900-6901                                          AMENDED JOINT EXHIBIT LIST
 Trial Ex. 82     P   11/18/2015 California Filings       BF0075589-    Evan Singer:
                      Unified Spreadsheet                 BF0075621     likelihood of
                                                                        confusion
 Trial Ex. 83     P   12/03/2015 Infogroup UCC Dentists   BF0074467-    Evan Singer:
                      Spreadsheet                         BF0074586     likelihood of
                                                                        confusion
 Trial Ex. 84     P   12/03/2015 Infogroup UCC            BF0074587-    Evan Singer:
                      Unmatched Spreadsheet               BF0075588     likelihood of
                                                                        confusion
 Trial Ex. 85     P   12/07/2015 Infogroup UCC            BF0073987-    Evan Singer:
                      Equipment Leasing Spreadsheet       BF0074326     likelihood of
                                                                        confusion
 Trial Ex. 86     P   12/07/2015 Infogroup UCC MCA        BF0074327-    Evan Singer:
                      Spreadsheet                         BF0074466     likelihood of
                                                                        confusion
 Trial Ex. 87     P   12/09/2015 Meridian Smart           BF0071221-    Evan Singer:
                      Business Loans UCCs_MCA 8885        BF0071785     likelihood of
                      Spreadsheet                                       confusion
 Trial Ex. 88     P   12/23/2015 Infogroup UCC Order      BF0076733-    Evan Singer:
                      Dentists Spreadsheet                BF0076897     likelihood of
                                                                        confusion
 Trial Ex. 89     P   12/23/2015 Infogroup UCC Order      BF0075630-    Evan Singer:
                      Equipment Leasing Spreadsheet       BF0076113     likelihood of
                                                                        confusion
 Trial Ex. 90     P   12/23/2015 Infogroup UCC Order      BF0077360-    Evan Singer:
                      Other Spreadsheet                   BF0082357     likelihood of
                                                                        confusion
 Trial Ex. 91     P   12/24/2015 Meridian UCC Dentists    BF0076276-    Evan Singer:
                      Spreadsheet                         BF0076293     likelihood of
                                                                        confusion
 Trial Ex. 92     P   12/24/2015 Meridian UCC MCA         BF0076294-    Evan Singer:
                      (Non-Dentists) Spreadsheet          BF0076732     likelihood of
                                                                        confusion
 Trial Ex. 93     P   Target Business Spreadsheet         BF0086392-    Evan Singer:
                      (“Brad’s list”)                     BF0086409     likelihood of
                                                                        confusion
 Trial Ex. 94     P   12/28/2015 Infogroup UCC Order      BF0076898-    Evan Singer:
                      Factors Spreadsheet                 BF0077359     likelihood of
                                                                        confusion




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SMRH:4864-0900-6901                                         AMENDED JOINT EXHIBIT LIST
 Trial Ex. 95     P   12/29/2015 Infogroup Dentists      BF0086410-    Evan Singer:
                      Spreadsheet                        BF0088813     likelihood of
                                                                       confusion
 Trial Ex. 96     P   12/29/2015 Infogroup Insurance     BF0090939-    Evan Singer:
                      Spreadsheet                        BF0092668     likelihood of
                                                                       confusion
 Trial Ex. 97     P   12/29/2015 Infogroup Legal         BF0088814-    Evan Singer:
                      Spreadsheet                        BF0090938     likelihood of
                                                                       confusion
 Trial Ex. 98     P   09/22/2016 Member Services Email   BF0092676     Evan Singer:
                      with SmartBiz Sam Club’s Ad                      likelihood of
                                                                       confusion
 Trial Ex. 99     P   03/24/2017 Email from Tom          CC4662-       Abraham Cohen:   Defendants:   Plaintiff: Pursuant to
                      Hallstrom to Ezra Friedman and     CC4666        likelihood of    H             FRE803(1), FRE803(3),
                      Anthony Collin re SBF & CFA                      confusion                      and/or FRE807, Mr.
                      working together? Re: Ezra from                                                 Hallstrom’s statements in
                      Smart ISO agreement for Tom                                                     TX099 demonstrate his then-
                                                                                                      existing state of mind (i.e.,
                                                                                                      confusion) and present sense
                                                                                                      impression of what had been
                                                                                                      communicated to him during
                                                                                                      a telephone call with Mr.
                                                                                                      Cohen. Further, pursuant to
                                                                                                      FRE803(6), the document is a
                                                                                                      business record of Collins
                                                                                                      Cash, that was produced by
                                                                                                      Collins Cash in this case.
                                                                                                      Plaintiff expects that Mr.
                                                                                                      Cohen will verify that the
                                                                                                      record was contemporaneous
                                                                                                      and kept in the course of
                                                                                                      regular business.
                                                                                                      Alternatively, TX099 is being
                                                                                                      offered to impeach the
                                                                                                      credibility of Mr. Cohen who
                                                                                                      is expected to testify that he
                                                                                                      was unaware of any
                                                                                                      individuals actually being
                                                                                                      confused between Collins
                                                                                                      Cash and BillFloat.




                                                                      -11-                                        Case No. 3:20-cv-09325-EMC
SMRH:4864-0900-6901                                        AMENDED JOINT EXHIBIT LIST
 Trial Ex. 100    P   04/25/2018 Email from                BF0092855-    Evan Singer:          Defendants:   Plaintiff: TX100 demonstrates
                      report@meltwater.com to Gabriel      BF0092857     likelihood of         F             that the SmartBiz mark was
                      Gagner re SmartBiz Loans in the                    confusion and                       being widely used in the
                      Media_ 12 New Results                              foundation                          market, and Plaintiff expects
                                                                         Abraham Cohen:                      to use the exhibit to impeach
                                                                         likelihood of                       Mr. Cohen. Furthermore, if
                                                                         confusion                           necessary, Mr. Singer can also
                                                                                                             testify to the foundation for
                                                                                                             TX0100.
 Trial Ex. 101    P   05/29/2018 Email to Lauren           BF0092858-    Abraham Cohen:
                      Bankiewicz forwarding SmartBiz:      BF0092860     likelihood of
                      David Ayers assigned a                             confusion
                      conversation with Abraham Cohen
                      to themselves
 Trial Ex. 102    J   05/29/2018-05/30/2018 Email string   BF0092893-    P: Evan Singer:
                      between Nick Fragoso and Abraham     BF0092915     likelihood of
                      Cohen re SmartBiz Loans – Flying                   confusion,
                      Horse Communication (Singer Depo                   willfulness
                      Ex. 24)
                                                                         D: Abraham Cohen
                                                                         and Evan Singer:
                                                                         demonstrative
                                                                         evidence and
                                                                         impeachment
                                                                         evidence.
 Trial Ex. 103    J   08/22/2018 Smart Business Funding    BF0092916-    P: Evan Singer:
                      Marketing email re Just funded       BF0092920     rebuttal to laches
                      $300,000.00 to an Energy                           defense
                      Company! (Singer Depo Ex. 26,
                      ECF No. 50-2 Ex. X)                                D: Abraham Cohen
                                                                         and Evan Singer:
                                                                         demonstrative
                                                                         evidence and
                                                                         impeachment
                                                                         evidence.
 Trial Ex. 104    P   08/22/2018-11/08/2019 Sample                       Evan Singer:
                      Smart Business Funding Marketing                   likelihood of
                      emails (ECF No. 50-1 Ex. T)                        confusion, rebuttal
                                                                         to laches defense




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 Trial Ex. 105    J   08/28/2018 Email to Lauren           BF0092922-    P: Evan Singer:    Plaintiff: H,   Defendants: Abraham Cohen
                      Bankiewicz forwarding re SmartBiz:   BF0092924     likelihood of      F               will provide the foundation
                      Tiffany Martinez closed a                          confusion                          for the document as the CEO
                      conversation with Abraham Cohen                                                       and sole employee of Collins
                      (Singer Depo Ex. 28)                               D: Abraham Cohen                   Cash. It is an admission
                                                                         and Evan Singer:                   against interest per FRE
                                                                         demonstrative                      804(b)(3).
                                                                         evidence and
                                                                         impeachment
                                                                         evidence.
 Trial Ex. 106    J   09/07/2018 Email to Lauren           BF0092925-    P: Evan Singer:
                      Bankiewicz forwarding message        BF0092927     likelihood of
                      from Tiffany Martinez to Abraham                   confusion
                      Cohen re [SmartBiz] Smart Business                 Abraham Cohen:
                      Funding: 'SBF-Smart Business                       impeachment and
                      Funding' (Singer Depo Ex. 29)                      willfulness

                                                                         D: Abraham Cohen
                                                                         and Evan Singer:
                                                                         demonstrative
                                                                         evidence and
                                                                         impeachment
                                                                         evidence.
 Trial Ex. 107    P   09/18/2018 [AEO] Email from the      CC3613-       Evan Singer:
                      SmartBiz team to Abraham Cohen       CC3615        likelihood of
                      re SmartBiz Introduces Non-SBA                     confusion
                      Bank Term Loans                                    Abraham Cohen:
                                                                         impeachment and
                                                                         willfulness
 Trial Ex. 108    J   09/20/2018 Email notice of new       BF0092928-    P: Evan Singer:    Plaintiff: H,   Defendants: Abraham Cohen
                      voice message to Nick Fragoso from   BF0092929     likelihood of      F               will provide the foundation
                      Mike Brooks (Singer Depo Exs. 21,                  confusion                          for the document as the CEO
                      30)                                                Abraham Cohen:                     and sole employee of Collins
                                                                         impeachment and                    Cash. It is an admission
                                                                         willfulness                        against interest per FRE
                                                                                                            804(b)(3).
                                                                         D: demonstrative
                                                                         evidence and
                                                                         impeachment
                                                                         evidence




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 Trial Ex. 109    P   07/01/2019 Email re EMC2              CC1053        Abraham Cohen:
                      Logistics LCC (Cohen Depo Ex. U)                    likelihood of
                                                                          confusion
 Trial Ex. 110    P   07/12/2019 Smart Business Funding     BF0000006-    Evan Singer:
                      Marketing email re                    BF0000007     likelihood of
                      #SmartBusinessFunding (ECF No.                      confusion
                      50-2 Ex. Z)
 Trial Ex. 111    J   07/16/2019 Email from Tiffany         BF0092933-    P: Evan Singer:    Plaintiff: H,   Defendants: Abraham Cohen
                      Martinez forwarding email from        BF0092934     likelihood of      F               will provide the foundation
                      Mike Brooks to Danny Valenzuela                     confusion                          for the document as the CEO
                      Fwd: Shayne McBride & Associates                                                       and sole employee of Collins
                      (Singer Depo Ex. 32)                                D: Abraham Cohen                   Cash. It is an admission
                                                                          and Evan Singer:                   against interest per FRE
                                                                          demonstrative                      804(b)(3) and a business
                                                                          evidence and                       record per 803(6).
                                                                          impeachment
                                                                          evidence.
 Trial Ex. 112    J   07/22/2019 Email notice of new        BF0092937-    P: Evan Singer:    Plaintiff: H,   Defendants: Abraham Cohen
                      voice message to Merrina Guitteau     BF0092938     likelihood of      F               will provide the foundation
                      from Mike Brooks (Singer Depo Ex.                   confusion                          for the document as the CEO
                      33)                                                                                    and sole employee of Collins
                                                                          D: Abraham Cohen                   Cash. It is an admission
                                                                          and Evan Singer:                   against interest per FRE
                                                                          demonstrative                      804(b)(3) and a business
                                                                          evidence and                       record per 803(6).
                                                                          impeachment
                                                                          evidence.
 Trial Ex. 113    P   08/27/2019 [AEO] Email from the       CC3478-       Abraham Cohen
                      SmartBiz Team to Abraham Cohen        CC3479        and Evan Singer:
                      re Know your client’s business debt                 likelihood
                      coverage                                            of confusion
 Trial Ex. 114    P   10/22/2019 [AEO] Email from the       CC3582-       Abraham Cohen
                      SmartBiz Team to Abraham Cohen        CC3583        and Evan Singer:
                      re SEO tips to attract new clients                  likelihood
                                                                          of confusion
 Trial Ex. 115    P   10/31/2019 Email from Alan Crystal    BF0092939-    Evan Singer:
                      to Brent Looney Fwd: November         BF0092945     likelihood of
                      and December (Singer                                confusion
                      Depo Ex. 34, ECF No. 50-2 Ex. AA)




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 Trial Ex. 116    P   11/08/2019 Smart Business Funding      BF0000159-    Evan Singer:
                      Marketing email re Thank you to        BF0000160     likelihood of
                      our Veterans (ECF No. 50-1 Ex.                       confusion
                      AB)
 Trial Ex. 117    J   11/22/2019 Email from David            BF0092870-    P: Evan Singer:
                      Singer to Evan Singer fw: we invite    BF0092871     likelihood of
                      you to explore our financing options                 confusion
                      (Singer Depo Ex. 23)
                                                                           D: Evan Singer:
                                                                           demonstrative
                                                                           evidence and
                                                                           impeachment
                                                                           evidence.
 Trial Ex. 118    J   03/24/2020 Email from Patrick          BF0092886-    P: Evan Singer:
                      Larkin OnDeck to Choe Lee re Your      BF0092887     likelihood of
                      Application for COLLINS CASH                         confusion,
                      INC. and App #3254427 is                             willfulness, and
                      Incomplete (Singer Depo Ex. 36)                      rebuttal to laches
                                                                           defense.

                                                                           D: Abraham Cohen
                                                                           and Evan Singer:
                                                                           demonstrative
                                                                           evidence and
                                                                           impeachment
                                                                           evidence.
 Trial Ex. 119    J   03/25/2020-04/01/2020 Email string     BF0092889-    P: Evan Singer:
                      between Travis Kozlovsky and           BF0092892     likelihood of
                      Abraham Cohen re SmartBiz                            confusion,
                      Application for Collins Cash (Singer                 willfulness
                      Depo Ex. 22)
                                                                           D: Evan Singer:
                                                                           demonstrative
                                                                           evidence and
                                                                           impeachment
                                                                           evidence.
 Trial Ex. 120    P   https://www.youtube.com/channel/                     Evan Singer:
                      UC4NZufjnhk78iSQNjmG7dIQ/fea                         likelihood of
                      tured                                                confusion




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 Trial Ex. 121    P   https://www.linkedin.com/company/                   Evan Singer:
                      smartbiz-loans/                                     likelihood of
                                                                          confusion
 Trial Ex. 122    P   https://twitter.com/smartbizloans                   Evan Singer:
                                                                          likelihood of
                                                                          confusion
 Trial Ex. 123    P   https://www.facebook.com/smartbiz                   Evan Singer:
                      loans                                               likelihood of
                                                                          confusion
 Trial Ex. 124    P   https://www.instagram.com/smartbi                   Evan Singer:
                      zloans/                                             likelihood of
                                                                          confusion
 Trial Ex. 125    P   01/2016-09/2020 [SEALED]              BF0000179-    Evan Singer:
                      BillFloat Marketing Costs (ECF No.    BF0000181     likelihood of
                      50-1 Ex. I)                                         confusion
 Trial Ex. 126    P   04/14/2020 Cease and desist letter                  Abraham Cohen
                      from Robert Hale to Anthony Collin                  and Evan Singer:
                      (Cohen Depo Ex. 2, ECF No. 50-1                     likelihood
                      Ex. AC)                                             of confusion,
                                                                          willfulness
 Trial Ex. 127    P   05/28/2020 [AEO] Letter from Karl                   Abraham Cohen
                      Kronenberger to Anthony Collin re                   and Evan Singer:
                      Demand to Cease and Desist                          likelihood of
                      Infringement and other unlawful                     confusion,
                      Conduct (ECF No. 50-1 Ex. V)                        willfulness
 Trial Ex. 128    P   06/19/2020 Letter from Firouzeh                     Abraham Cohen:
                      Nur-Vaccaro to Karl Kronenberger                    likelihood of
                      re Cease and Desist Letter to Smart                 confusion,
                      Business Funding                                    willfulness
 Trial Ex. 129    P   09/08/2020 Letter from Karl           CC3974-       Abraham Cohen
                      Kronenberger to Firouzeh Nur-         CC3976        and Evan Singer:
                      Vaccaro re Final Cease and Desist                   likelihood of
                      Letter; Notice to Preserve                          confusion,
                      Documents for Litigation                            willfulness




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 Trial Ex. 130    J   05/02/2020 SMART BUSINESS                          P: Abraham Cohen       Plaintiff:      Defendants: Defendants have
                      FUNDING Trademark Application                      and Mark Keegan:       MIL, H          opposed the MIL. This is a
                      US Serial No. 88898248 (Cohen                      likelihood of                          public record per FRE 803(8).
                      Depo Ex. 3, Keegan Depo Ex. AH,                    confusion,
                      ECF No. 42 Ex. 55, ECF No. 50 Ex.                  willfulness
                      W)
                                                                         D: Abraham
                                                                         Cohen:
                                                                         demonstrative
                                                                         evidence and
                                                                         supporting
                                                                         testimonial
                                                                         evidence from
                                                                         percipient witness;
                                                                         public record
 Trial Ex. 131    J   10/20/2020 Email notice of new       BF0092948-    P: Evan Singer:        Plaintiff: H,   Defendants: Evan Singer is
                      voice mail message to Nick Fragoso   BF0092949     rebuttal evidence to   F, R, P         the corporate witness for this
                      from Mike Brooks (Singer Depo                      laches defense                         document. It is a business
                      Exs. 31, 38)                                                                              record 803(6) and recorded
                                                                         D: Abraham Cohen                       recollection 803(5). It shows
                                                                         and Evan Singer:                       plaintiff continuing to accept
                                                                         demonstrative                          referrals from Collins Cash.
                                                                         evidence and
                                                                         impeachment
                                                                         evidence.
 Trial Ex. 132    P   05/10/2022 SmartBiz Business                       Evan Singer:
                      Partners List (ECF No. 50-1 Ex. A)                 likelihood
                                                                         of confusion,
                                                                         rebuttal evidence to
                                                                         laches defense
 Trial Ex. 133    J   02/25/2013 Certificate of            CC313-314     P: Abraham Cohen:
                      Incorporation of Collins Cash Inc.                 foundational
                                                                         evidence

                                                                         D: Abraham
                                                                         Cohen:
                                                                         demonstrative
                                                                         evidence and
                                                                         supporting
                                                                         testimonial




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                                                                  evidence; public
                                                                  record




 Trial Ex. 134    P   2017-2015 Aleks Flom Emails (ECF            Evan Singer:                         Plaintiff: Pursuant to FRE801,
                      No. 50-1 Ex. B)                             rebuttal evidence to                 these emails are not hearsay
                                                                  laches defenses                      to the extent they are not
                                                                                                       being offered to prove the
                                                                                                       truth of the statements in
                                                                                                       those emails, but instead, to
                                                                                                       demonstrate that BillFloat
                                                                                                       sent out emails with those
                                                                                                       statements (e.g., “I wanted to
                                                                                                       connect with you in regards to
                                                                                                       our strategic partnership
                                                                                                       program.”), to a large list of
                                                                                                       potential partners.
                                                                                                       Furthermore, pursuant to
                                                                                                       FRE803(3), they demonstrate
                                                                                         Defendants:   Mr. Flom’s state of mind
                                                                                         H, F, R, IC   regarding specific intent to
                                                                                                       target individual companies
                                                                                                       based on their presence on a
                                                                                                       marketing list, as opposed to
                                                                                                       his personal knowledge. Also,
                                                                                                       Pursuant to FRE803(6), Mr.
                                                                                                       Singer will establish that these
                                                                                                       emails are business records of
                                                                                                       BillFloat that were
                                                                                                       contemporaneously recorded
                                                                                                       and kept in the ordinary
                                                                                                       course of business. Mr.
                                                                                                       Singer will further testify as
                                                                                                       to their foundation and
                                                                                                       relevance, in particular, to
                                                                                                       rebut Defendants’ laches




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                                                                                                         theory that a 2015 email from
                                                                                                         Mr. Flom to Collins Cash
                                                                                                         allegedly demonstrates
                                                                                                         knowledge of the Smart
                                                                                                         Business Funding mark that
                                                                                                         should be imputed to Plaintiff.
                                                                                                         Further, the emails compiled
                                                                                                         in TX134 are complete
                                                                                                         records.
 Trial Ex. 135    P   Smart Business Funding Site (ECF               Abraham Cohen:
                      No. 50-1 Ex. M)                                likelihood of
                                                                     confusion
 Trial Ex. 136    P   11/06/2021-12/16/2014 Analytics –              Abraham Cohen:
                      smartbusinessfunder.com (Cohen                 likelihood of
                      Depo Ex. AA)                                   confusion
 Trial Ex. 137    J   12/16/2014 Email from Danny          CC327-    P: Abraham Cohen:   Plaintiff: H,   Defendants: Abraham Cohen
                      Koshanfar to Anthony Collin re 5     CC328     likelihood of       F, R, P         will provide the foundation
                      names                                          confusion,                          for this document as a
                                                                     willfulness                         recorded recollection of when
                                                                                                         Collins Cash adopted
                                                                     D: Abraham                          SMART BUSINESS
                                                                     Cohen,                              FUNDING
                                                                     demonstrative
                                                                     evidence and
                                                                     supporting
                                                                     testimonial
                                                                     evidence
 Trial Ex. 138    P   12/17/2014 Email from domain.com     CC363     Abraham Cohen:
                      to Abraham Cohen re Import: Please             likelihood of
                      validate your domain name                      confusion,
                      (smartbusinessfunder.com)                      willfulness




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 Trial Ex. 139    J   12/17/2014 Email from domain.com      CC335-        P: Abraham Cohen:   Plaintiff: H,   Defendants: Abraham Cohen
                      to Abraham Cohen re Your              CC336         likelihood of       F, R, P         will provide the foundation
                      Domain.Com Order Confirmation &                     confusion,                          for this document as a
                      Login Info                                          willfulness                         business record (803(6)) of
                      (smartbusinessfunder.com)                                                               when Collins Cash adopted
                                                                          D: Abraham                          SMART BUSINESS
                                                                          Cohen,                              FUNDING
                                                                          demonstrative
                                                                          evidence and
                                                                          supporting
                                                                          testimonial
                                                                          evidence
 Trial Ex. 140    P   12/30/2014-01/01/2015 [AEO]           CC3599        Abraham Cohen:
                      Email string between Abraham                        likelihood of
                      Cohen and Bob Nelson re Smart                       confusion
                      Business Funding Social Media
 Trial Ex. 141    P   02/03/2015 BillFloat Better Finance   BF0000271-    Evan Singer:
                      SmartBiz Tradeshow Banner,            BF0000274     likelihood of
                      Design Proof Round 9                                confusion and
                                                                          foundation
                                                                          Abraham Cohen:
                                                                          likelihood
                                                                          of confusion,
                                                                          willfulness
 Trial Ex. 142    P   02/20/2015 [AEO] Email from           CC3598        Abraham Cohen:
                      Abraham Cohen to Bob Nelson re                      likelihood
                      Smart Business Funding –                            of confusion,
                      Marketing Project                                   willfulness
 Trial Ex. 143    J   03/11/2015-07/15/2021 Location        CC331-        P: Abraham Cohen:
                      Report                                CC334         likelihood of
                                                                          confusion

                                                                          D: Abraham
                                                                          Cohen:
                                                                          demonstrative
                                                                          evidence and
                                                                          supporting
                                                                          testimonial
                                                                          evidence




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 Trial Ex. 144    P   05/20/2015 [AEO] Email from           CC4807-       Abraham Cohen:
                      Anthony Collin to Ignite Visibility   CC4810        likelihood
                      re Top Industries                                   of confusion,
                                                                          willfulness
 Trial Ex. 145    P   09/15/2015 [AEO] Email from           CC4851-       Abraham Cohen:
                      Google AdWords to Anthony Collin      CC4852        likelihood
                      re Your AdWords account: Ads not                    of confusion,
                      running due to AdWords                              willfulness
                      Advertising Policies
 Trial Ex. 146    P   04/14/2016 [AEO] Email from           CC1021        Abraham Cohen:
                      Anthony Collins to Giselle Delfin                   likelihood of
                      Email re Your ISO Called Me-                        confusion
                      Please Call Him Back and Update
                      us. (Cohen Depo Ex. R, ECF No.
                      50-1 Ex. Q)
 Trial Ex. 147    P   05/18/2016 Email re Spauling          CC1022        Abraham Cohen:
                      Insurance Agency (Cohen Depo Ex.                    likelihood of
                      S)                                                  confusion
 Trial Ex. 148    P   06/05/2016 [AEO] Email from           CC4339        Abraham Cohen:
                      Anthony Collin to Andrew Graham                     likelihood of
                      re How it works                                     confusion
 Trial Ex. 149    P   06/01/2016-06/07/2016 [AEO]           CC4721-       Abraham Cohen:
                      Email string between Anthony          CC4729        likelihood of
                      Collin and Mikel Bruce re                           confusion
                      smartbusinessfunder.com – website
                      contract
 Trial Ex. 150    J   01/11/2017 SmartBiz Partner           BF0092800-    P: Abraham Cohen       Plaintiff: F,
                      Program Terms and Conditions          BF0092811     and Evan               H, R, P, IC
                      (Cohen Depo Ex. 6, Singer Depo                      Singer: likelihood
                      Ex. 25, ECF No. 50 Ex. U)                           of confusion,                          Defendants: Abraham Cohen
                                                                          rebuttal evidence to                   will provide the foundation
                                                                          laches defense.                        for this document. It is a
                                                                                                                 business record of the terms
                                                                          D: Evan Singer:                        of the arrangement between
                                                                          demonstrative                          the parties (803(6)).
                                                                          evidence and
                                                                          impeachment
                                                                          evidence.




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 Trial Ex. 151    P   05/29/2018 [AEO] Email from         CC3382    Abraham Cohen:
                      SmartBiz Team to Abraham Cohen                likelihood of
                      re Anthony has joined you team on             confusion,
                      Partner Assist!                               willfulness
 Trial Ex. 152    J   06/06/2018 Email re Approved        CC1171    P: Abraham Cohen:   Plaintiff: F,   Defendants: Abraham Cohen
                      SmartBiz Partner (Cohen Depo Ex.              likelihood of       H, R, P, IC     will provide the foundation
                      Y, ECF No. 50-1 Ex. E)                        confusion,                          for this document. It is a
                                                                    willfulness                         business record of the terms
                                                                                                        of the arrangement between
                                                                    D: Abraham                          the parties (803(6)) and
                                                                    Cohen:                              timing of relationship.
                                                                    demonstrative
                                                                    evidence and
                                                                    supporting
                                                                    testimonial
                                                                    evidence
 Trial Ex. 153    P   06/19/2018 Email between Murray     CC1189    Abraham Cohen:      Defendants:     Plaintiff: Pursuant to
                      Steinman and Mike Brooks FW: It's             likelihood of       H, F            FRE803(1), FRE803(3),
                      summer! Is your business ready to             confusion                           and/or FRE807, Mr.
                      grow? (Cohen Depo Ex. Z, ECF No.              Steinman:                           Steinman’s statements in
                      50-1 Ex. P)                                   impeachment                         TX153 demonstrate his then-
                                                                                                        existing state of mind (i.e.,
                                                                                                        confusion) and present sense
                                                                                                        impression of what had been
                                                                                                        communicated to him in an
                                                                                                        email. Further, pursuant to
                                                                                                        FRE803(6), the document is a
                                                                                                        business record of Collins
                                                                                                        Cash, that was produced by
                                                                                                        Collins Cash in this case.
                                                                                                        Plaintiff expects that Mr.
                                                                                                        Cohen will verify that the
                                                                                                        record was contemporaneous
                                                                                                        and kept in the course of
                                                                                                        regular business.
                                                                                                        Alternatively, TX153 is being
                                                                                                        offered to impeach the
                                                                                                        credibility of Mr. Cohen who
                                                                                                        is expected to testify that he
                                                                                                        was unaware of any




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                                                                                         individuals actually being
                                                                                         confused between Collins
                                                                                         Cash and BillFloat.



 Trial Ex. 154    P   05/13/2019 [AEO] Email string       CC3557        Abraham Cohen:
                      between Abraham Cohen and                         likelihood
                      Pamela Maida re Deal                              of confusion
 Trial Ex. 155    P   01/29/2020 [AEO] Email from         CC3741-       Abraham Cohen:
                      Phillip Bailey to Abraham Cohen     CC3742        likelihood
                      and others re Funded – Elizabeth                  of confusion
                      Wormald (Penrith Inc) – Deal ID
                      19629077
 Trial Ex. 156    P   02/01/2021 [AEO] Emails between     CC1127-       Abraham Cohen:
                      Michael Brumback and Anthony        CC1132        likelihood
                      Collins re Following Up (ECF No.                  of confusion
                      50-1 Ex. O)
 Trial Ex. 157    P   03/11/2021 Email from               BF0092838-    Abraham Cohen:
                      smartbusinessfunding@smartbusine    BF0092839     likelihood
                      ssfunding.co to                                   of confusion
                      evan@smartbizloans.com
                      re March Madness!
 Trial Ex. 158    P   03/24/2021 Email re Martin’s Home   CC1138        Abraham Cohen:
                      for Services Inc. (Cohen Depo Ex.                 likelihood
                      X)                                                of confusion
 Trial Ex. 159    P   10/21/2020 Email from               BF0092828-    Abraham Cohen:
                      smartbusinessfunding@smartbusine    BF0092829     likelihood
                      ssfunding.co to                                   of confusion
                      evan@smartbizloans.com
                      re October Surprise Funding!
 Trial Ex. 160    P   11/07/2021 Email from Tevra L.      CC1018        Abraham Cohen:
                      Smith (Cohen Depo Ex. Q)                          likelihood
                                                                        of confusion
 Trial Ex. 161    P   12/07/2021-12/08/2021 [AEO]         CC4123-       Abraham Cohen:
                      Emails between Yosef Scheff and     CC4124        likelihood
                      Anthony Collins re Commission                     of confusion
                      (ECF No. 50-1 Ex. R)




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 Trial Ex. 162        [AEO] Social Media Brand            CCE19        Abraham Cohen:
                      Expansion                                        likelihood
                                                                       of confusion
 Trial Ex. 163    P   2014-2021 Master Loan Spreadsheet                Abraham Cohen:
                      (Cohen Depo Ex. P)                               likelihood
                                                                       of confusion
 Trial Ex. 164    P   2015-2020 [AEO] Copies of Smart     CC364-887    Abraham Cohen:
                      Business Funding Merchant Cash                   likelihood
                      Advance Agreements                               of confusion
 Trial Ex. 165    J   2020 [AEO] Collins Cash Inc. Tax    CC982-       P: Abraham Cohen
                      Return for 2020 (Cohen Depo Ex.     CC1015       and Stan Smith:
                      AC)                                              damages

                                                                       D: Abraham
                                                                       Cohen:
                                                                       demonstrative
                                                                       evidence and
                                                                       supporting
                                                                       testimonial
                                                                       evidence.
 Trial Ex. 166    J   2020 [AEO] Collins Cash Inc. Tax    CC108-       P: Abraham Cohen
                      Returns for 2015-2018               CC199        and Stan Smith:
                                                                       damages

                                                                       D: Abraham
                                                                       Cohen:
                                                                       demonstrative
                                                                       evidence and
                                                                       supporting
                                                                       testimonial
                                                                       evidence.
 Trial Ex. 167    J   2020 [AEO] Collins Cash Inc. Tax    CC207-       P: Abraham Cohen
                      Return for 2019                     CC216        and Stan Smith:
                                                                       damages

                                                                       D: Abraham
                                                                       Cohen:
                                                                       demonstrative
                                                                       evidence and




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                                                                      supporting
                                                                      testimonial
                                                                      evidence.




 Trial Ex. 168    P   Collins Cash Financials - 2021-      CC5308-    Abraham Cohen
                      present                              CC5381     and Stan Smith:
                                                                      damages
 Trial Ex. 169    P   05/10/2022 Stan Smith’s Curriculum              Stan Smith:
                      Vitae                                           damages
 Trial Ex. 170    P   05/10/2022 Table 1 from Expert                  Stan Smith:
                      Report of Stan Smith                            damages
 Trial Ex. 171    P   05/10/2022 Table 2 from Expert                  Stan Smith:
                      Report of Stan Smith                            damages
 Trial Ex. 172    P   05/10/2022 Table 3 from Expert                  Stan Smith:
                      Report of Stan Smith                            damages
 Trial Ex. 173    P   05/10/2022 Table 4 from Expert                  Stan Smith:
                      Report of Stan Smith                            damages
 Trial Ex. 174    P   05/10/2022 Table 5 from Expert                  Stan Smith:
                      Report of Stan Smith                            damages
 Trial Ex. 175    P   05/10/2022 Spreadsheet of Collins               Stan Smith:
                      Cash’s Business Deals                           damages
 Trial Ex. 176    P   [AEO] 05/10/2022 Financial                      Stan Smith:
                      Statements from Collins Cash from               damages
                      2015-2020;
 Trial Ex. 177    P   05/10/2022 List of Collins Cash’s               Stan Smith:
                      Current Outstanding Business Debts              damages
 Trial Ex. 178    P   05/10/2022 Mark Keegan’s                        Mark Keegan:
                      Curriculum Vitae                                likelihood of
                                                                      confusion,
                                                                      impeachment
 Trial Ex. 179    P   02/18/2022-03/01/2022 Raw Data                  Mark Keegan:
                      (Kegan Depo Ex. AK, ECF No. 43-                 likelihood of
                      1 Ex. 6)                                        confusion,
                                                                      impeachment




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 Trial Ex. 180    P   04/26/2022 Email from Gordon                   Mark Keegan:
                      Gray to Jesse Salen, et al. Re:                likelihood of
                      SmartBiz v. Collins - Expert Data              confusion,
                      (ECF No. 43-1 Ex. 7)                           impeachment
 Trial Ex. 181    J   2011 Reference Guide on Survey                 P: Melissa            The parties stipulate that this exhibit may be
                      Research (Federal Judicial Center              Pittaoulis and Mark   used at trial in accordance with Fed. R. Evid.
                      ed., 3d ed. 2011) by Shari Seidman             Keegan: likelihood    803(18), but will not be entered as an exhibit.
                      Diamond (ECF No. 43-1 Ex. 8)                   of confusion and
                                                                     rebuttal.
                                                                     Mark Keegan:
                                                                     impeachment

                                                                     D: Melissa
                                                                     Pittaoulis,
                                                                     demonstrative and
                                                                     impeachment
                                                                     evidence
 Trial Ex. 182    P   2013 Trademark Surveys by Jacob                Melissa Pittaoulis    The parties stipulate that this exhibit may be
                      Jacoby, Vol. 1, Design,                        and Mark Keegan:      used at trial in accordance with Fed. R. Evid.
                      Implementing, and Evaluating                   likelihood of         803(18), but will not be entered as an exhibit.
                      Surveys 507 (American Bar                      confusion and
                      Association 2013) (ECF No. 43-1                rebuttal
                      Ex. 9)                                         Mark Keetan:
                                                                     impeachment
 Trial Ex. 183    J   2014 Control Groups In Lanham Act              P: Melissa            The parties stipulate that this exhibit may be
                      Surveys by Eugene P. Ericksen and              Pittaoulis and Mark   used at trial in accordance with Fed. R. Evid.
                      Melissa A. Pittaoulis (ECF No. 49-1            Keegan: likelihood    803(18), but will not be entered as an exhibit.
                      Ex. 76)                                        of confusion and
                                                                     rebuttal.
                                                                     Mark Keegan:
                                                                     impeachment

                                                                     D: Melissa
                                                                     Pittaoulis,
                                                                     demonstrative and
                                                                     impeachment
                                                                     evidence




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 Trial Ex. 184    J   2016 Eveready And Squirt                      P: Melissa            The parties stipulate that this exhibit may be
                      Cognitively Updated by Jerre B.               Pittaoulis and Mark   used at trial in accordance with Fed. R. Evid.
                      Swann (ECF No. 49-1 Ex. 77)                   Keegan: likelihood    803(18), but will not be entered as an exhibit.
                                                                    of confusion and
                                                                    rebuttal.
                                                                    Mark Keegan:
                                                                    impeachment

                                                                    D: Melissa
                                                                    Pittaoulis,
                                                                    demonstrative and
                                                                    impeachment
                                                                    evidence
 Trial Ex. 185    P   2022 6 McCarthy on Trademarks                 Melissa Pittaoulis    The parties stipulate that this exhibit may be
                      and Unfair Competition § 32:159               and Mark Keegan:      used at trial in accordance with Fed. R. Evid.
                      (5th ed.) (ECF No. 43-1 Ex. 3)                likelihood of         803(18), but will not be entered as an exhibit.
                                                                    confusion and
                                                                    rebuttal
                                                                    Mark Keegan:
                                                                    impeachment
 Trial Ex. 186    J   Experimental Design and the                   P: Melissa            The parties stipulate that this exhibit may be
                      Selection of Controls in Trademark            Pittaoulis and Mark   used at trial in accordance with Fed. R. Evid.
                      and Deceptive Advertising Surveys             Keegan: likelihood    803(18), but will not be entered as an exhibit.
                      by Jacob Jacoby, 92 Trademark                 of confusion and
                      Reporter 890 (ECF No. 49-1 Ex. 78)            rebuttal.
                                                                    Mark Keegan:
                                                                    impeachment

                                                                    D: Melissa
                                                                    Pittaoulis,
                                                                    demonstrative and
                                                                    impeachment
                                                                    evidence
 Trial Ex. 187    P   09/19/2019 Right Reverend Charles             Mark Keegan:          Defendants:     Plaintiff: TX187 is a public
                      G. vonRosenberg, et al., the                  rebuttal and          H, R, MIL, P    record pursuant to
                      Episcopal Church v. the Right                 impeachment                           FRE803(8). Plaintiff intends
                      Reverend Mark J. Lawrence, case                                                     to use TX187 to impeach Mr.
                      no. 2:13-cv-00587-RMG, Order and                                                    Keegan about the reliability
                      Opinion (Keegan Depo Ex. AI)                                                        of his survey methodology.
                                                                                                          Plaintiff’s position is further




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                                                                                                               explained in its opposition
                                                                                                               brief to Defendants’ Motion
                                                                                                               in Limine No. 3 (ECF No. 82
                                                                                                               at 7-10.)

 Trial Ex. 188    P   08/13/2021 Beyond Blonde v.                         Mark Keegan:          Defendants:    Plaintiff: TX188 is a public
                      Heldman III, CV 20-5581 DSF                         rebuttal and          H, R, MIL, P   record pursuant to
                      (GJSx), Order DENYING                               impeachment                          FRE803(8). Plaintiff intends
                      Defendant and Counterclaimant                                                            to use TX188 to impeach Mr.
                      Comedy MX, LLC’s Motion for a                                                            Keegan about the reliability
                      Preliminary                                                                              of his survey methodology.
                      Injunction (Keegan Depo Ex. AG)                                                          Plaintiff’s position is further
                                                                                                               explained in its opposition
                                                                                                               brief to Defendants’ Motion
                                                                                                               in Limine No. 3 (ECF No. 82
                                                                                                               at 7-10.)
 Trial Ex. 189    P   11/20/2021 Kudos Inc. v.                            Mark Keegan:          Defendants:    Plaintiff: TX189 is a public
                      Kudoboard LLC, et al., case no. 20-                 rebuttal and          H, R, MIL, P   record pursuant to
                      cv-01876-SI, Order re: Pending                      impeachment                          FRE803(8). Plaintiff intends
                      Motions (Keegan Depo Ex. AJ)                                                             to use TX189 to impeach Mr.
                                                                                                               Keegan about the reliability
                                                                                                               of his survey methodology.
                                                                                                               Plaintiff’s position is further
                                                                                                               explained in its opposition
                                                                                                               brief to Defendants’ Motion
                                                                                                               in Limine No. 3 (ECF No. 82
                                                                                                               at 7-10.)
 Trial Ex. 190    P   05/31/2022 Melissa Pittaoulis’                      Melissa Pittaoulis:
                      Curriculum Vitae                                    likelihood of
                                                                          confusion
 Trial Ex. 191    P   07/01/2015 UCC Order All Lenders      BF0021804-    Evan Singer:
                      Spreadsheet                           BF0053219     likelihood of
                                                                          confusion

 Trial Ex. 192        INTENTIONALLY LEFT BLANK




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 Trial Ex. 193    D   Document with the “Amazon” logo                     Evan Singer:       Plaintiff: F,   Defendants: It is a public
                      (Singer Depo Ex. 13)                                demonstrative      R, P, H         record and/or subject to
                                                                          evidence and                       judicial notice as to the
                                                                          impeachment                        public’s knowledge of the
                                                                          evidence.                          Amazon logo. It goes to the
                                                                                                             Sleekcraft factors on sight.
 Trial Ex. 194    D   Document with the “Amazon” logo                     Evan Singer:       Plaintiff: F,   Defendants: It is a public
                      (Singer Depo Ex. 14)                                demonstrative      R, P, H         record and/or subject to
                                                                          evidence and                       judicial notice as to the
                                                                          impeachment                        public’s knowledge of the
                                                                          evidence.                          Amazon logo. It goes to the
                                                                                                             Sleekcraft factors on sight.
 Trial Ex. 195    D   Document with the “Amazon” logo                     Evan Singer:       Plaintiff: F,   Defendants: It is a public
                                                                          demonstrative      R, P, H         record and/or subject to
                                                                          evidence and                       judicial notice as to the
                                                                          impeachment                        public’s knowledge of the
                                                                          evidence.                          Amazon logo. It goes to the
                                                                                                             Sleekcraft factors on sight.
 Trial Ex. 196    D   Singer Depo Ex. 27                    BF0092921     Evan Singer:       Plaintiff: H,   Defendants: It is a recorded
                                                                          demonstrative      R, P            recollection per 803(5) and
                                                                          evidence and                       shows plaintiff’s knowledge
                                                                          impeachment                        of defendant’s use of mark.
                                                                          evidence.
 Trial Ex. 197    D   Singer Depo Ex. 34                    BF0092939-    Abraham Cohen      Plaintiff: H,   Defendants: It is an admission
                                                            BF0092945     and Evan Singer:   R, P            against interest per 804(b)(3).
                                                                          demonstrative
                                                                          evidence and
                                                                          impeachment
                                                                          evidence.
 Trial Ex. 198    D   Email dated 8/31/15,                  CC217         Abraham Cohen      Plaintiff: H,
                      Subject: SmartBiz Loans Partnership                 and Evan Singer:   R, P            Defendants: It is an admission
                      Opportunity                                         demonstrative                      against interest per 804(b)(3)
                                                                          evidence and                       and a business record per
                                                                          impeachment                        803(6).
                                                                          evidence.
 Trial Ex. 199    D   Screen capture of                                   Evan Singer:       Plaintiff: A,   Defendants: Abraham Cohen
                      sbnonline.com (Singer Depo Ex. 40)                  demonstrative      H, R            will authenticate the
                                                                          evidence and                       document. It is a present
                                                                          impeachment                        sense impression for
                                                                          evidence.



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                                                                                                         consumers in the marketplace
                                                                                                         (803(1).


 Trial Ex. 200    D   Screen capture of Smart Business                  Evan Singer:     Plaintiff: A,   Defendants: Abraham Cohen
                      Credit (Singer Depo Ex. 41)                       demonstrative    H, R, P         will authenticate the
                                                                        evidence and                     document. It is a present
                                                                        impeachment                      sense impression for
                                                                                                         consumers in the marketplace
                                                                                                         (803(1).
 Trial Ex. 201    D   Screen capture of                                 Evan Singer:     Plaintiff: A,   Defendants: Abraham Cohen
                      SmartBusinessDealmakers.com                       demonstrative    H, R, P         will authenticate the
                      (Singer Depo Ex. 42)                              evidence and                     document. It is a present
                                                                        impeachment                      sense impression for
                                                                        evidence.                        consumers in the marketplace
                                                                                                         (803(1).
 Trial Ex. 202    D   Screen capture for SBS, Smart                     Evan Singer:     Plaintiff: A,   Defendants: Abraham Cohen
                      Business Solutions, LLC (Singer                   demonstrative    H, R, P         will authenticate the
                      Depo Ex. 43)                                      evidence and                     document. It is a present
                                                                        impeachment                      sense impression for
                                                                        evidence.                        consumers in the marketplace
                                                                                                         (803(1).
 Trial Ex. 203    D   INTENTIONALLY LEFT BLANK




 Trial Ex. 204        INTENTIONALLY LEFT BLANK




 Trial Ex. 205    D   Text conversation between Abraham   BF0092858-    Abraham Cohen,
                      Cohen and Danielle Ott, dated May   BF0092860     demonstrative
                      16, 2018                                          evidence and
                                                                        supporting
                                                                        testimonial
                                                                        evidence




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 Trial Ex. 206        INTENTIONALLY LEFT BLANK




 Trial Ex. 207        INTENTIONALLY LEFT BLANK




 Trial Ex. 208    D   SBF website, 2-15-15                 CC218      Abraham Cohen,     Plaintiff: IC,   Defendants: It is a business
                                                                      demonstrative      H                record per 803(6) and shows
                                                                      evidence and                        use of mark by defendant
                                                                      supporting                          Collins Cash
                                                                      testimonial
                                                                      evidence.
 Trial Ex. 209    D   Office Action, dated July 29, 2020   CC940 –    Abraham Cohen,     Plaintiff: H,    Defendants: It is a public
                      for U.S. TM Appln. No. 88/898248     CC967      demonstrative      R, P             record per 803(8) relevant to
                      for SMART BUSINESS FUNDING                      evidence and                        likelihood of confusion
                                                                                                          analysis.
 Trial Ex. 210    D   Response to Office Action, dated     CC902 –    Abraham Cohen,     Plaintiff: H,     Defendants: It is a public
                      August 12, 2020 for U.S. TM          CC939      demonstrative      R, P             record per 803(8) relevant to
                      Appln. No. 88/898248 for SMART                  evidence and                        likelihood of confusion
                      BUSINESS FUNDING                                supporting                          analysis.
                                                                      testimonial
                                                                      evidence; public
                                                                      record
 Trial Ex. 211    D   Expert Report of Mark Keegan,                   Mark Keegan,
                      Exhibit 1                                       demonstrative
                                                                      evidence and
                                                                      supporting
                                                                      testimonial
                                                                      evidence.
 Trial Ex. 212    D   Expert Report of Mark Keegan,                   Mark Keegan,
                      Exhibit 2                                       demonstrative
                                                                      evidence and
                                                                      supporting
                                                                      testimonial
                                                                      evidence.




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 Trial Ex. 213    D   Expert Report of Mark Keegan,             Mark Keegan,
                      Exhibit 3                                 demonstrative
                                                                evidence and
                                                                supporting
                                                                testimonial
                                                                evidence.
 Trial Ex. 214    D   Expert Report of Mark Keegan,             Mark Keegan,
                      Exhibit 4                                 demonstrative
                                                                evidence and
                                                                supporting
 Trial Ex. 215    D   Expert Report of Mark Keegan,             Mark Keegan,
                      Exhibit 5 [PRODUCED                       demonstrative
                      ELECTRONICALLY]                           evidence and
                                                                supporting
                                                                testimonial
                                                                evidence.
 Trial Ex. 216    D   Expert Report of Mark Keegan,             Mark Keegan,
                      Exhibit 6                                 demonstrative
                                                                evidence and
                                                                supporting
                                                                testimonial
                                                                evidence.
 Trial Ex. 217    D   Expert Report of Mark Keegan,             Mark Keegan,
                      Exhibit 7                                 demonstrative
                                                                evidence and
                                                                supporting
                                                                testimonial
                                                                evidence.
 Trial Ex. 218    D   Debanked Ad – 4/21/2020         CC1       Abraham Cohen,
                                                                demonstrative
                                                                evidence and
                                                                supporting
                                                                testimonial
                                                                evidence
 Trial Ex. 219    D   SBF Google listing 4/14/2021    CC92      Abraham Cohen,   Plaintiff: H,   Defendants: Abraham Cohen
                                                                demonstrative    F, R, P         will lay the foundation for
                                                                evidence and                     this document as a sample
                                                                supporting                       advertisement of defendant’s




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                                                                       testimonial                           mark. It is a business record
                                                                       evidence                              per 803(6).




 Trial Ex. 220        INTENTIONALLY LEFT BLANK




 Trial Ex. 221    D   Trial testimony declaration of                   Melissa Pittaoulis,   Plaintiff: F,   Defendants: Dr. Pittaoulis
                      Melissa Pittaoulis in Gilead case                demonstrative         H, R, P         will provide foundation. It is
                                                                       evidence and                          her prior testimony per
                                                                       impeachment                           804(b)(1).
                                                                       evidence
 Trial Ex. 222    D   TTAB decision                                    Melissa Pittaoulis,   Plaintiff: F,   Defendants: It is a public
                                                                       public record,        H, R, P         record per 803(8) regarding
                                                                       demonstrative                         Dr. Pittaoulis’ survey
                                                                       evidence and                          methodology.
                                                                       impeachment
                                                                       evidence
 Trial Ex. 223    D   Trade show display – 2021           CC94         Abraham Cohen,        Plaintiff: H,   Defendants: It is a business
                                                                       demonstrative         R               record per 803(6) showing
                                                                       evidence and                          use of the mark at issue.
                                                                       supporting
                                                                       testimonial
                                                                       evidence
 Trial Ex. 224    D   SBF Twitter profile                 CC105        Abraham Cohen,
                                                                       demonstrative
                                                                       evidence and
                                                                       supporting
                                                                       testimonial
                                                                       evidence
 Trial Ex. 225    D   SBF BBB listing, 04/14/2021         CC75-        Abraham Cohen,
                                                          CC82,        demonstrative
                                                          CC85-CC88    evidence and
                                                                       supporting
                                                                       testimonial
                                                                       evidence




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 Trial Ex. 226    D   SBF FaceBook listing, 04/14/2021   CC90        Abraham Cohen,
                                                                     demonstrative
                                                                     evidence and
                                                                     supporting
                                                                     testimonial
                                                                     evidence
 Trial Ex. 227    D   SBF Google Ad, 4/14/2021           CC91 -      Abraham Cohen,
                                                         CC92        demonstrative
                                                                     evidence and
                                                                     supporting
                                                                     testimonial
                                                                     evidence
 Trial Ex. 228    D   SBF Instagram page, 4/14/2021      CC93        Abraham Cohen,
                                                                     demonstrative
                                                                     evidence and
                                                                     supporting
                                                                     testimonial
                                                                     evidence
 Trial Ex. 229    D   SBF Trust Pilot page, 04/14/2021   CC95 –      Abraham Cohen,
                                                         C104        demonstrative
                                                                     evidence and
                                                                     supporting
                                                                     testimonial
                                                                     evidence
                                                                     Evan
                                                                     Singer/likelihood
                                                                     of confusion
 Trial Ex. 230    D   July 26, 2019 email from Tiffany   CC1061      Abraham Cohen,      Plaintiff: H,   Defendants: It is a recorded
                      Martinez (SmartBiz) to Anthony                 demonstrative       R               recollection per 803(5) and
                      Collin                                         evidence and                        business record per 803(6)
                                                                     supporting                          showing plaintiff’s ongoing
                                                                     testimonial                         knowledge of defendant’s use
                                                                     evidence                            of mark
 Trial Ex. 231    D   April 17, 2020 email chain with    CC1074 -    Abraham Cohen,      Plaintiff: H,   Defendants: It is a recorded
                      Abraham Cohen, Mike Brooks and     1076        demonstrative       R               recollection per 803(5) and
                      Elzy Castillo                                  evidence and                        business record per 803(6)
                                                                     supporting                          showing plaintiff’s ongoing
                                                                     testimonial                         knowledge of defendant’s use
                                                                     evidence                            of mark




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 Trial Ex. 232    D   November 16, 2020 email chain          CC1107 -     Abraham Cohen,     Plaintiff: H,   Defendants: It is a recorded
                      with Mike Brooks and Nick Fragoso      1123         demonstrative      R               recollection per 803(5) and
                                                                          evidence and                       business record per 803(6)
                                                                          supporting                         showing plaintiff’s ongoing
                                                                          testimonial                        knowledge of defendant’s use
                                                                          evidence                           of mark
 Trial Ex. 233    D   Collins Cash, Inc.’s master deals      CC E1        Abraham Cohen,
                      spreadsheet                                         evidence and
                                                                          supporting
                                                                          demonstrative
                                                                          testimonial
                                                                          evidence
 Trial Ex. 234    D   09/02/2020 Notice of Publication for                Abraham Cohen,     Plaintiff:      Defendants: Defendants have
                      SMART BUSINESS FUNDING                              demonstrative      MIL             opposed this MIL.
                      U.S. Trademark Application No.                      evidence and
                      88898248 (ECF No. 42 Ex. 53)                        supporting
                                                                          testimonial
                                                                          evidence; public
                                                                          record

 Trial Ex. 235    D   07/15/2020 Letter of Protest                        Abraham Cohen      Plaintiff: H,   Defendants: Defendants have
                      concerning U.S. Application Serial                  and Evan Singer:   R, P, MIL       opposed this MIL. It is a
                      No. 88898248 for the mark SMART                     demonstrative                      public record, admission
                      BUSINESS FUNDING (Singer                            evidence and                       against interest
                      Depo Ex. 37, ECF No. 42 Ex. 54)                     impeachment
                                                                          evidence.
 Trial Ex. 236    D   02/19/2021 Email from Marlee Taxy      BF0092883    Evan Singer:       Plaintiff: F,   Defendants: Mr. Singer has
                      to Brian Griner re Missing                          demonstrative      H, R, P         identified himself as the
                      information to pay partners (Singer                 evidence and                       corporate witness for this
                      Depo Ex. 44)                                        impeachment                        document. It is an admission
                                                                          evidence.                          against interest per 804(b)(3).
 Trial Ex. 237    D   04/29/2021 Email chain re Notice of                 Abraham Cohen      Plaintiff: F,   Defendants: Abraham Cohen
                      Termination of the SmartBiz Partner                 and Evan Singer:   H, R, P         will provide foundation for
                      Program Terms & Conditions by                       demonstrative                      this document. It is a
                      and between SmartBiz Loans and                      evidence and                       recorded recollection per
                      Collins Cash, Inc. dba Smart                        impeachment                        803(5) and business record
                      Business Funding (the "Agreement")                  evidence.                          (803(6)) and shows contract
                      (Singer Depo Ex. 39)                                                                   was not terminated until after
                                                                                                             suit was filed.




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